                       Case 4:16-cr-00072-KGB                 Document 198             Filed 08/30/17         Page 1 of 7
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 1




                UNITED STATES OF AMERICA
                                  v.
                   SIEE RAMON RUSSELL                                            Case Number: 4:16CR00072-02 JLH

                                                                                 USM Number: 30824-009
                                                                                  Omar F. Greene, II
                                                                                 Defendant's Attorney
THE DEFENDANT:
liZI pleaded guilty to count(s)        Count 3s of Superseding Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended
 18 U.S.C. § 924(c)(1)(A)          Aiding and abetting possessing and brandishing a firearm in             9/22/2015                   3s

 and 18 U.S.C. § 2                  furtherance of a crime of violence, a Class A felony



       The defendant is sentenced as provided in pages 2 through        __7_ _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
liZI Count(s)     1, 2, 3; and 1s, 2s                  D is      liZI are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any: change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments ~sed by this judgment are fully paid. IfordCred to pay restitution,
the defen<Jant must notify the court and United States attorney of material clianges in economtc circumstances.

                                                                        8/30/2017




                                                                        J. Leon Holmes, United States District Judge
                                                                        Name and Title of Judge


                                                                        8/30/2017
                                                                        Date
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AO 2458 (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                                   2_ of
                                                                                                  Judgment -Page _ _       7
 DEFENDANT: SIEE RAMON RUSSELL
 CASE NUMBER: 4: 16CR00072-02 JLH

                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
84 MONTHS to run consecutive to state sentence the defendant is currently serving




     lil1 The court makes the following recommendations to the Bureau of Prisons:
The Court recommends the defendant participate in residential substance abuse treatment, anger management, and
educational and vocational programs during incarceration. The Court further recommends placement in the FCI El Reno,
Oklahoma, facility so as to remain near his family.


     liZf The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D at                                   D a.m.     D p.m.       on

          D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D   before 2 p.m. on

          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                        to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                        By --------------------~
                                                                                            DEPUTY UNITED STATES MARSHAL
                      Case 4:16-cr-00072-KGB              Document 198             Filed 08/30/17         Page 3 of 7
AO 245B (Rev. 11/16) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                      Judgment-Page     3    of         1
DEFENDANT:  SIEE RAMON RUSSELL
CASE NUMBER: 4: 16CR00072-02 JLH
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:     THREE (3) YEARS



                                                     MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
6.    D You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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    AO 2458 (Rev. 11/16)   Judgment in a Criminal Case
                           Sheet 3A - Supervised Release
                                                                                                    Judgment-Page _ _4__ of _ _ _1___
    DEFENDANT: SIEE RAMON RUSSELL
    CASE NUMBER: 4:16CR00072-02 JLH

                                           STANDARD CONDITIONS OF SUPERVISION
    AB part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
    because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
    officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

    I.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
          release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
          frame.
-   2.    After initially~orting to the probation office, you will receive instructions from the court or the probation officer about how and
          when you must report to the probation officer, and you must report to the probation officer as instructed.
    3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission :from the
          court or the probation officer.
    4.    You must answer truthfully the questions asked by your probation officer.
    5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
          arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
          the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
          hours of becoming aware of a change or expected change.
    6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
          take any items prohibited by the conditions of your supervision that he or she observes in plain view.
    7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
          doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
          you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
          responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
          days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
          becoming aware of a change or expected change.
    8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
          convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
          probation officer.
    9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
    10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
          designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
    11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
          first getting the permission of the court.
    12.   Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
          require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
          person and confirm that you have notified the person about the risk.
    13.   You must follow the instructions of the probation officer related to the conditions of supervision.



    U.S. Probation Office Use Only
    A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
    judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
    Release Conditions, available at: www.uscourts.gov.


    Defendant's Signature                                                                                     Date
                                                                                                                     ~---------~
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AO 24SB (Rev. 11/16)    Judgment in a Criminal Case
                       Sheet 3B -  Supervised Release
                                                                                             Judgment-Page    5     of        7
DEFENDANT: SIEE RAMON RUSSELL
CASE NUMBER: 4:16CR00072-02 JLH

                                      ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant is not a legal resident of the Eastern District of Arkansas, therefore, the period of supervised release
 will be administered in the district where the defendant is a legal resident.

 15) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. The defendant must
 abstain from the use of alcohol throughout the course of treatment.

 16) The defendant may not make application for any loan or enter into any credit arrangement without approval from the
 probation office unless all criminal penalties have been satisfied.

 17) The defendant must disclose business and personal information including all assets (including unexpected financial
 gains) and liabilities to the probation office. The defendant may not transfer, sell, give away, or otherwise convey any
 asset without approval from the probation office.

 18) The defendant must participate in a domestic violence counseling program under the guidance and supervision of the
 probation office. The defendant will pay for the cost of treatment at the rate of $1 O per session, with the total cost not to
 exceed $40 per month, based on ability to pay as determined by the probation office. In the event the defendant is
 financially unable to pay for the cost of treatment, the co-pay requirement will be waived.

 19) The defendant will participate in Adult Education, GED, literacy classes, or other vocational/educational programs
 under the guidance and supervision of the probation office.
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AO 245B (Rev. 11116) Judgment in a Criminal Case
                     Sheet 5 - Criminal Monetary Penalties
                                                                                                              Judgment-Page -~6- of         7
 DEFENDANT: SIEE RAMON RUSSELL
 CASE NUMBER: 4:16CR00072-02 JLH
                                              CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                 JVTA Assessment*                      Fine                      Restitution
 TOTALS             s 100.00                   s 0.00                                 s 0.00                    s 335,095.50

 D    The determination of restitution is deferred until
                                                         ----
                                                              • An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 ~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned paYJ!!ent, unless ~itied otherwise in
     the priority o~ or ~tage payment column below. However, pursuant to 18 U.S.C. § 3664{1), all nonfederal victims must be paid
     before the Umted States is paid.

  Name of Payee                                                                    Total Loss**      Restitution Ordered Priority or Percentage
    Roberson's Fine Jewelry                                                                                   $321,295.50

    Sam Harris                                                                                                  $1,000.00

    William Todd                                                                                               $12,400.00

    Charlo Campbell                                                                                              $400.00




TOTALS                                                                       s                 0.00 $_ _~3~35~,0~9~5~.5~0


D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a tine of more than $2,500, unless the restitution or tine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

~     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       ~ the interest requirement is waived for the           D       tine       ~ restitution.

       D   the interest requirement for the       D    tine       D     restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 2458 (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                               Judgment - Page      7      of           7
 DEFENDANT: SIEE RAMON RUSSELL
 CASE NUMBER: 4:16CR00072-02 JLH

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ill   Lump sum payment of$
                                         -100.00
                                           - - - - - due immediately, balance due
            D     not later than                                    , or
            D     in accordance with     D C,       D D,       D E,or           D Fbelow;or
 B    D Payment to begin immediately (may be combined with                   DC,         D D, or       D F below); or

 C    D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    D Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     ill   Special instructions regarding the payment of criminal monetary penalties:

            During incarceration, the defendant will pay 50 percent per month of all funds that are available to him. During
            residential re-entry placement, payments will be 10 percent of the defendant's gross monthly income. Beginning
            the first month of supervised release, payments will be 1O percent per month of the defendant's monthly gross
            income. The interest requirement is waived.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal mon~ penalties is due during
the petj.od of imprisonment. All criminal mone~ penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




~     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
       Restitution will be joint and several with any other person who has been or will be convicted on an offense for which
       restitution to the same victim on the same loss is ordered.



D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following_order: (1) assessment, (2) restitution principali (3) restitution interest, (4) fine principal, (5) fine
interest, ( 6) commumty restitution, (7) NTA assessment, (8) penalties, and (9) costs, me Uding cost of prosecution and court costs.
